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 7   Attorneys for Plaintiffs and the Certified Class
     [Additional counsel listed onfollowing page]
 8
9                              UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
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   ENRIQUE VAZQUEZ, SERGIO                           Lead Case No. 16-CV-02749-WQH-BLM
   ALFONSO LOPEZ, and MARIA                          (Consolidated w/Case No. 17-cv-00077-
13 VIVEROS, individually and on behalf                WQH-BLM)
14
   of themselves and others similarly
   situated,                                         CLASS ACTION
15
                     Plaintiffs,                     UNOPPOSED
16
                                                     DECLARATION OF SAHAG
17   v.                                              MAJARIAN II IN SUPPORT OF
18 KRAFT HEINZ FOODS COMPANY,                        MOTION FOR ORDER GRANTING
                                                     FINAL APPROVAL OF CLASS
19 a Pennsylvania Corporation, and                   ACTION SETTLEMENT AND
   DOES 1 through 100, inclusive,                    AWARD OF ATTORNEY FEES AND
20
                                                     COSTS
21                   Defendants.
                                                     DATE:         March 20, 2020
22
                                                     TIME:         9:00 a.m.
23                                                   DEPT:         Courtroom 14B
                                                     JUDGE:        Hon. William Q. Hayes
24
25                                               Filed:            September 8, 2016
     ---------                          -      -
                                               � Certified:        October 9, 2018
26
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          Declaration of Sahag Majarian II ISO Motion for Final Approval of Class Action Settlement
                                     Case No. 16-CV-02749-WQH-BLM
 1
 2   COHELAN KHOURY & SINGER
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 9 LAW OFFICES OF SAHAG MAJARIAN II
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13   Attorneys for Plaintiffs and the Certified Class
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       Declaration of Sahag Majarian II ISO Motion for Final Approval of Class Action Settlement
                                  Case No. 16-CV-02749-WQH-BLM
 1                      DECLARATION OF SAHAG MAJARIAN II
 2   I, Sahag Majarian II, hereby declare:
 3          1.     I am an attorney duly licensed to practice in the State of California and
 4   am the principal of the Law Offices of Sahag Majarian II, one of the attorneys of
 5   record for Plaintiffs in this certified class action against Kraft Heinz Foods
 6   Company. I have personal knowledge of the following, and if called and sworn as a
 7   witness, I could and would competently testify thereto. This declaration is made in
 8   support of Plaintiffs' motion for approval of the class action settlement and award of
 9   attorneys' fees and costs pursuant to the representative action settlement in this case.
10         2.      I graduated from Loyola Law School in 1990. Since my graduation, I
11   have been in private practice primarily representing consumers against insurance
12   companies and workers against their employers. I have devoted a significant portion
13   of my practice to employment law and class actions, and have been appointed co-
14   class counsel for the plaintiffs in no less than 50 wage and hour class actions. A
15   sample of these cases are: Ayvasi v. Ralph Grocery Company, LASC Case No.
16   BC382980; Sandoval v. Chevron StationsJ Inc., MCSC Case No. CV061690; Nieves
17   v. Roy's Woldwide, Inc., OSCS Case No. 06CC0076; Corado v. Good Year Rubber
18   Corp., SBSC Case No. RCV095476; Pleitz v. Johnson Controls, LASC Case No.
19   BC353315; Serrano v. BCI Coca Cola Bottling Co. of LA, LASC Case No.
20   BC349904; Urbina v. Valley Crest Co., LASC Case No. BC356023; Moraza v. OK
21   International, OSCS Case No. 06CC0148; DeLuna v. Target, LASC Case No.
22   BC353080; Daglian v. Staples, Inc. LASC Case No. BC375325; McCoy v. Kimko,
23   OSCS Case No. 07CC00007; Razo v. C&D ZodiacJ Inc., OSCS Case No.
24   07CC01373; and Gomez v. SpenuzzaJ Inc., RCSC Case No. RIC524075.
25         3.      In the employment class action arena, I have participated in over 150
26   class action mediations. My participation has included extensive preparation,
27   development of thorough knowledge of the legal issues related to certification and
28   liability, and full immersion and participation in the mediation and negotiation
                                                 1
       Declaration of Sahag Majarian II ISO Motion for Final Approval of Class Action Settlement
                                  Case No. 16-CV-02749-WQH-BLM
 1   process. I have also been designated co-counsel in various cases where we prevailed
 2   in contested class certification motions. The cases include: Herrera v. Mountain
 3   Meadow Mushroom Farms, SDSC Case No. 37-2009-00092416; Aguirre v.
 4   California Drop Forge, Inc., LASC Case No. BC374521; Marroquin v. Swissport
 5   North America, Inc., LASC Case No. BC390001; Ruiz v. JCP Logistics, Inc., USDC
 6   Central District Case No. 8:13-cv1908-JLS-AN.

 7         4.     Throughout my thirty one year career in law, my practice has been
 8   exclusively contingent fee work. Within the class action arena, I have been
 9   designated co-class counsel in no less than 30 class actions that have been settled for
10   over $1 million each. Given my success and experience, in my contingency fee
11   practice I have averaged over $700 per hour worked. Therefore, I believe it
12   appropriate to set my lodestar at no less than $700 per hour in this case. This
13   request is fair in view of the much higher rate per hour that can be justified by the
14   broadly accepted Laffey Matrix which shows hourly rate of $894 for attorneys out
15   of law school for more than 20 years. Within the last three years, various courts
16   throughout the State of California have approved my hourly rate at $700.
17         5.     My involvement in this case has included analysis and research relative
18   to Labor Code violations as to the employment practices of Defendant. In the
19   process, I developed a thorough knowledge of the legal issues surrounding the facts
20   of this case. In addition, I was involved in investigating and solidifying out theories
21   of liability against Defendant. The settlement was reached after extensive
22   negotiations subsequent to a full day mediation. Based on the totality of the
23   circumstances, I believe that the result achieved in this case is an extremely good
24   outcome for all class members.
25         6.     Based on my experience as Class Counsel in previous cases, and given
26   the legal and factual realities presented in this case, I believe the proposed settlemen
27   is fair, reasonable and adequate for the class. As a result of my prior experience of

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     Declaration of Enrique Vazquez ISO Motion for Final Approval and A ward of Service Payment
                                 Case No. 16-CV-02749-WQH-BLM
 1   representing employees in other class actions, I am fully aware of the
 2   responsibilities I owe to the aggrieved employees.
 3         7.     I was approached by Plaintiff Enrique Vazquez in March of 2016 in
 4   connection with potential employment law claims he believed he may have had
 5   against Defendant. After conducting an investigation of the facts and data, my co-
 6   counsels at Cohelan, Khoury & Singer and I decided to proceed with filing of this
 7   class action against Defendant.
 8         8.     Throughout the past thirty five months, I have been involved in the
 9   handling of this matter. My work in this case includes, but is not limited to pre-
10   litigation research and investigation regarding Defendant's employment practices,
11   communication with client, preparation of exposure model of damages, and
12   communication with co-counsel regarding implementation of a strategy to move the
13   case towards resolution.

14         9.     My law office, along with the law firms of Cohelan, Khoury & Singer
15   and Haines Law Group, APC undertook this matter on a purely contingency basis
16   with no guarantee that the time expended would result in any recovery or
17   recoupment of costs. Throughout my 3 5 months of involvement in this matter, I
18   have spent a total of 38.30 hours in this case. As such, based on my rate of $700 per
19   hour, my unadjusted lodestar amount would be for $26,810. I have incurred a total
20   of $18,135.00 in costs in this case (See Exhibit "A").

21         10.    Based on my experience in class and representative litigation, as well as
22   my experience with similar class cases involving similar claims, the settlement and
23   amount being made available provides the aggrieved employees with a real and
24   significant benefit. My endorsement of the Settlement is without reservation.
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26   Ill
21   Ill
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                                                 3
     Declaration of Enrique Vazquez ISO Motion for Final Approval and Award of Service Payment
                                 Case No. 16-CV-02749-WQH-BLM
 1         I declare under penalty of perjury under the laws of the State of California
 2   that the foregoing is true and correct.
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 4   Executed on February 20, 2020 at Tarzana, California.

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                                               Sahag~
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     Declaration of Enrique Vazquez ISO Motion for Final Approval and A ward of Service Payment
                                 Case No. 16-CV-02749-WQH-BLM
         11
EXHIBIT "A
                                                               Law Office of Sa hag Majarlan II
                                                                      Vasquez v, Kraft

         Type               Payment Method    Date       Num        Source Name             Invoice   Invoice Date              Memo                Amount
 Shared Costs with CKS


                                                                                                                    50% of Filing/complex fee
                           Check             4/20/2017     3434 CKS                                       3/15/2017 and E. Vasquez's transcript      $1,063.55

                           Check             4/20/2017     3434 CKS                                       3/15/2017 FIiing/compiex fee (PAGA)         $717.50

                           Check             6/19/2018     3933   CKS                                      5/9/2018   Electronic Discovery (DATA)    $2,031.82
                           Check             6/19/2018     3933   CKS                                      5/9/2018   Spanish Interpreting           $1,626.50
                           Check             6/19/2018     3933   CKS                                      5/9/2018   Consulting                    $10,621.37
                           Check             6/19/2018     3933   CKS                                      5/9/2018   Kramm Court Reporting             $97.50
Total                                                                                                                                               $16,158.24

 Travel, Hotel, Parking,
          Gas
                                                                                                                      Kimpton Sola mar Hotel for
                           Credit Card       1/23/2017            Erika Figueroa                                      deposition                      $276,36
                           Credit Card       1/23/2017            Erika Figueroa                                      Amira k for deposition          $112.00
                                                                                                                      Reimbursement for travel
                           Check              2/3/2017            Enrique Vasquez                                     deposition                      $194,00
                                                                                                                      Airplane Ticket for
                           Credit Card       3/12/2019            Erika Figueroa                                      mediation                       $551.96
                                                                                                                      Airplane Ticket for
                           Credit Card       3/12/2019            Enrique Vasquez                                     mediation                       $539,96
                                                                                                                      Ground transportation to
                           Credit Card       3/18/2019            Erika Figueroa                                      airport                          $12.34

                                                                                                                      Ground transportation from
                           Credit Card       3/18/2019            Erika Figueroa                                      airport to mediation             $18.71

                                                                                                                      Ground transportation from
                           Credit Card       3/18/2019            Erika Figueroa                                      mediation to airport             $19.92
                                                                                                                      Ground transportation from
                           Credit Card       3/18/2019            Erika Figueroa                                      airport to home                  $11.08
                                                                                                                      Reimbursement for travel
                           Check             3/24/2019            Enrique Vasquez                                     mediation                        $192.00
Total                                                                                                                                                $1,928.33

Fedex
                           Check             7/17/2019     2294 Fedex                 6-610-73733         7/12/2019 Documents to client                $21.28
                           Check             8/19/2019     2312 Fedex                 6-701-91133          8/9/2019 Documents to client                $27.23
Total                                                                                                                                                  $48.51



TOTAL COSTS                                                                                                                                         $18,135.08
